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1    BENJAMIN B. WAGNER
     United States Attorney
2    TODD D. LERAS
     Assistant U.S. Attorney
3    501 I Street, Ste 10-100
     Sacramento, CA 95814
4    Telephone (916) 554-2918
5
6
7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA        ) NO. 2:09-cr-0222 TLN
                                     )
12                  Plaintiff,       )
               v.                    ) STIPULATION AND ORDER
13                                   ) CONTINUING STATUS CONFERENCE
                                     )
14   KHAMLE KEOVILAY,                )
     DAVID PAKHO CHENG,
     MINH YAT THAM,                  )
15   DUNG NGUYEN,                    )
     SANG HIN SAELEE,
     LONG HOANG NGUYEN, and          )
16   TUAN DAO,                       )
                                     )
17                  Defendants.      )
18   _______________________________ )

19
20          The United States of America, through Assistant United States

21   Attorney Todd D. Leras, and Attorney Dennis Waks on behalf of Khamle

22   Keovilay, Attorney Alice Wong on behalf of David Cheng, Attorney

23   Michael Bigelow on behalf of Minh Tham, Attorney Michael Long on

24   behalf of Dung Nguyen, Attorney Olaf Hedberg on behalf of Sang

25   Saelee, Attorney Christopher Wing on behalf of Long Nguyen, and

26   Attorney Ken Giffard on behalf of Tuan Dao, stipulate and agree to

27   set this matter for a Status Conference on July 11, 2013, at 9:30

28   a.m.

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1         The government has provided Plea Agreements or made settlement
2    proposals to all defendants in the case.        Defense counsel continue
3    to review the proposals with their clients and discuss modifications
4    with the government.    These matters include the potential applicable
5    guidelines based on each defendant’s relevant conduct in this
6    alleged drug distribution conspiracy.       The discovery in the case is
7    voluminous and includes telephone calls intercepted during court-
8    authorized wiretaps.    Defense counsel need additional time to review
9    the settlement proposals and discuss them with their respective
10   clients.   The additional time is therefore needed for attorney
11   preparation and continuity of counsel.       All parties request that
12   time be excluded pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv) - Local
13   Code T-4 (attorney preparation and continuity of counsel).             The
14   parties agree to an exclusion of time for the reasons stated above
15   for the period from June 20, 2013 up to and including July 11, 2013.
16        Defense counsel have authorized Assistant U.S. Attorney Todd
17   Leras to sign this stipulation on their behalf.
18                                             Respectfully submitted,
19                                             BENJAMIN B. WAGNER
                                               United States Attorney
20
21   DATED: June 18, 2013                By: /s/ Todd D. Leras
                                             TODD D. LERAS
22                                           Assistant U.S. Attorney
23
24   DATED: June 18, 2013                By: /s/ Todd D. Leras for
                                             DENNIS WAKS
25                                           Attorney for Defendant
                                             KHAMLE KEOVILAY
26
     DATED: June 18, 2013                By: /s/ Todd D. Leras for
27                                           ALICE WONG
                                             Attorney for Defendant
28                                           DAVID CHENG

                                           2
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1    DATED: June 18, 2013                By: /s/ Todd D. Leras for
                                             MICHAEL BIGELOW
2                                            Attorney for Defendant
                                             MINH THAM
3
4    DATED: June 18, 2013                By: /s/ Todd D. Leras for
                                             MICHAEL LONG
5                                            Attorney for Defendant
                                             DUNG NGUYEN
6
7    DATED: June 18, 2013                By: /s/ Todd D. Leras for
                                             OLAF HEDBERG
8                                            Attorney for Defendant
                                             SANG SAELEE
9
10   DATED: June 18, 2013                By: /s/ Todd D. Leras for
                                             CHRISTOPHER WING
11                                           Attorney for Defendant
                                             LONG NGUYEN
12
13   DATED: June 18, 2013                By: /s/ Todd D. Leras for
                                             KEN GIFFARD
14                                           Attorney for Defendant
                                             TUAN DAO
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1
2                                       ORDER
3         A status conference is set in this matter for July 11, 2013, at
4    9:30 a.m.   Based on the representations of the parties, the Court
5    finds that the ends of justice served by granting the continuance
6    outweigh the best interest of the public and the defendants in a
7    speedy trial.   Time under the Speedy Trial Act shall be excluded
8    under 18 U.S.C. § 3161(h)(7)(B)(4) and Local Code T-4 up to and
9    including the period from June 20, 2013 to July 11, 2013.
10
11   DATED: June 19, 2013
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14                                                 Troy L. Nunley
15                                                 United States District Judge

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